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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,
                                                   Case: 23-cr-20058
                                                   Honorable Linda V. Parker
ALAN MARKOVITZ,

            Defendant.

v.

CHARLES BLACKWELL,                                 Case No. 23-mc-51361
                                                   Honorable Linda V. Parker
          Movant.
_____________________________/

                            OPINION AND ORDER

      On April 18, 2024, this Court issued an order requiring the United States and

Defendant Alan Markovitz to file motions if they wish to keep materials in their

sentencing memoranda sealed. (ECF No. 6.) The deadline to do so was May 2.

(Id.) On that date, Markovitz filed under seal on the criminal docket an ex parte

motion to seal his sentencing memorandum. (ECF No. 25.) Markovitz asks the

Court to seal his entire memorandum or, at a minimum, redact identified materials.

The Government has not responded to the order. 1


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 In its response to Movant Charles Blackwell’s motion to unseal, the United States
asked that it “be allowed to file a redacted sentencing memorandum that protects
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                                    Applicable Law

       As set forth in the Court’s April 18 decision, there is a presumption of public

access to sentencing memoranda which is protected by the common law and the

First Amendment to the United States Constitution. (See ECF No. 6 at PageID. 49-

50 (collecting cases).) As also set forth in that decision, however, “[p]ublic access

is not unlimited . . . ‘Sealing is appropriate if it is essential to preserve higher

values and is narrowly tailored to serve such ends.’” (Id. at PageID. 51 (quoting In

re Search of Fair Fin., 692 F.3d 424, 429 (6th Cir. 2012) (brackets, additional

quotation marks, and citations omitted).) “Courts are ‘afforded the power to seal

their records when interests of privacy outweigh the public’s right to know.’” (Id.

at PageID. 52 (quoting In re Knoxville News-Sentinel Co., 723 F.2d 470, 474 (6th

Cir. 1983) (citations omitted).) Nevertheless, the right of access “may be

overcome only by an overriding interest based on findings that closure is essential

to preserve higher values and is narrowly tailored to serve that interest.” Press-

Enter. Co. v. Superior Ct., 464 U.S. 501, 510 (1984) (emphasis added).




sensitive information.” (See ECF No. 3 at PageID. 29.) However, the United
States never moved to keep its memorandum under seal as subsequently ordered
by the Court. (ECF No. 6.) Nevertheless, out of caution, the Court has reviewed
the memorandum to assess whether it contains information warranting sealing. For
the reasons discussed in this decision, the Court concludes that sealing of the
United States’ sentencing memorandum is not warranted.
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      The burden to overcome the presumption of openness falls upon the party

seeking to keep material out of the public’s eyes. Shane Grp., Inc. v. Blue Cross

Blue Shield of Mich., 825 F.3d 299, 305 (6th Cir. 2016) (citing In re Cendant

Corp., 260 F.3d 183, 194 (3d Cir. 2001)). This is a heavy burden and “[o]nly the

most compelling reasons can justify non-disclosure of judicial records.” Id.

(quoting Knoxville News, 723 F.2d at 476). The party seeking closure must present

“particularized evidence” that public access “would result in [the identified harm].”

In re Owens, 843 F. App’x 677, 680 (6th Cir. 2021) (citing United States v. Doe,

962 F.3d 139, 147-51 (4th Cir. 2020)) (finding the Fourth Circuit’s decision in Doe

“instructive” and concluding that the defendant “ha[d] not offered any

particularized evidence that the mention of his proffer in publicly accessible

documents would result in danger to him, specifically”); see also Press-Enter., 464

U.S. at 510 (requiring courts to make “findings that closure is essential to preserve

higher values” and instructing that “[t]he interest is to be articulated along with

findings specific enough that a reviewing court can determine whether the closure

order was properly entered”). The court must find that there is “a ‘substantial

probability’ the interest will be harmed absent sealing[,]” and “conclusory

statements cannot alone establish a substantial probability of harm.” Doe, 962 F.3d

at 148 (citing In re Washington Post Co., 807 F.2d 383, 392 (4th Cir. 1986)); see

also In re Providence J. Co., 293 F.3d 1, 13 (1st Cir. 2002) (“We caution that this

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inquiry requires specific findings; the First Amendment right of public access is

too precious to be foreclosed by conclusory assertions or unsupported

speculation.”).

      Courts have recognized that harm to a defendant or a defendant’s family

may constitute a compelling reason warranting secrecy of certain materials. See,

e.g., Doe, 962 F.3d at 147 (quoting United States v. Harris, 890 F.3d 480, 492 (4th

Cir. 2018)) (“Courts have recognized that an interest in protecting the physical and

psychological well-being of individuals related to the litigation may justify

restricting access [to court proceedings and/or materials]”); id. at 147 n. 9 (citing

Harris, 890 F.3d at 492) (“protecting family members is certainly a compelling

interest”); id. at 148 (collecting circuit cases holding “that protecting cooperating

inmates serves a compelling interest under the First Amendment”); United States v.

Doe, 870 F.3d 991, 999-1000 (9th Cir. 2017); see also United States v. Kincaide,

No. 2023 WL 5154527, at *5 (W.D. Ky. Aug. 10, 2023). “And ‘as a general rule,

the need to protect the well-being of’ a defendant ‘is even more elevated if judicial

records suggest that the defendant may have cooperated with law enforcement.”

Doe, 962 F.3d at 147 (quoting Harris, 890 F.3d at 492). Nevertheless, there must

be particularized evidence of the specific harm claimed. See, e.g., Doe, 962 F.3d at

147 n.9 (recognizing that protecting a defendant’s family members may warrant

closure but finding that the defendant provided no details about a risk to his

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family); In re Owens, 843 F. App’x at 680 (finding that the defendant did not offer

any particularized evidence that public disclosure would result in danger to him);

In re Civil Beat Law Ctr. for Pub. Int., No. 21-MC-00298, 2021 WL 4898660, at *3

(D. Hawaii Oct. 14, 2021) (recognizing that “the ‘cooperation language’ in [the

defendant’s plea] Agreement could jeopardize both his safety and the

Government’s ongoing investigation” but noting that “speculative jeopardy is not

enough” to overcome the right of access).

                                     Analysis

      Markovitz has not met his burden of showing a substantial probability that a

compelling interest will be harmed if his sentencing memorandum is unsealed,

either completely or with all of his requested redactions. The Court first observes

that his request to seal the entire memorandum completely ignores Supreme Court

and Sixth Circuit precedent that any restriction on access must be narrowly tailored

to serve the compelling reason for closure. See supra.

      Second, he offers no justification for several of his proposed redactions. The

Court notes that two of those redactions—references to Ronald Szolack and that

Markovitz’ father is a Holocaust survivor—undermine his motion and the

credibility of his arguments supporting nondisclosure. This is because the

information is already publicly available. Both Markovitz’ and Szolack’s plea

agreements disclose that their convictions arise from a transaction between them.

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(See ECF No. 12 at PageID. 22); Rule 11 Plea Agreement, United States v. Szolack,

Case No. 23-cr-20020 (E.D. Mich. Feb. 1, 2023), ECF No. 7 at PageID. 11. The

information concerning Markovitz’ father is readily available through an Internet

search, including on the “official bio” page of the public website promoting

Markovitz, his book, and his clubs. See https://perma.cc/8RGD-43XH.

      Much of what Markovitz seeks to redact relates to his cooperation with law

enforcement. He relies heavily on the Fourth Circuit’s decision in Doe in support

of that request. But Doe does not instruct that sealing is proper whenever material

relates to a defendant’s cooperation.

      Instead, the Fourth Circuit looked to see if “the record demonstrates that [the

d]efendant faces a heightened risk.” 932 F.3d at 148. The court found a

“substantial probability” of harm because the “[d]efendant was involved with, and

provided information about, members of an interstate drug-trafficking organization

and individuals committing home invasion and robberies[,]” and he “spent a

decade robbing high level drug dealers—individuals who, according to the district

court, are more likely to put a hit on you than to call the police after a robbery.” Id.

(cleaned up). The Ninth Circuit’s decision in another Doe case similarly rested on

specific facts resulting in a heightened risk of harm to the defendant and his family.

See 870 F.3d at 998-99.

      In that decision, those facts were:

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          (1) his offense involved a large international drug-trafficking
          organization; (2) he lost a load of methamphetamine with a
          conservative estimated street value of more than half a million
          dollars; (3) Doe was involved in multiple border crossings and
          delivered narcotics to numerous locations throughout Southern
          California; and (4) he cooperated while he was in pre-trial
          detention by providing incriminating information about others
          who were also incarcerated. Moreover, Doe provided
          information about other defendants whom he recognized
          during a court appearance. Presumably, these defendants
          recognized Doe as well, further jeopardizing his safety if his
          cooperation became public. The government also describes
          the potential risk to Doe's family, crediting the statement in the
          presentence report that a member of the cartel told Doe:
          “Don’t play us dirty because we know where your family is.”

Id. Absent such factual support, courts have found generalized assertions of harm

by a defendant and/or his or her counsel insufficient to overcome the presumption

of openness. See, e.g., Oregonian Publ’g Co. v. U.S. Dist. Ct. for the Dist. of

Oregon, 920 F.2d 1462 (9th Cir. 1990); In re Civil Beat Law Ctr. for Pub. Int.,

2021 WL 4898660, at *5.

      In Oregonian Publishing, the Ninth Circuit held that the district court erred

in sealing a plea agreement and related documents contemplating the defendant’s

cooperation where there was no factual support to conclude that, without closure,

the safety of the defendant or his family would be placed in jeopardy. Id. at 1467.

Similarly, in In Civil Beat Law Center for Public Interest, the court found that the

defendant did not satisfy his burden of demonstrating a substantial probability of

harm which would be caused by disclosure of his plea agreement containing a

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cooperating provision. 2021 WL 4898660, at *5. There, the defendant supported

his request for closure on his counsel’s “conclusory” assertion that unsealing would

subject the defendant to the risk of attack or injury, that his “offense involved a

high-profile racketeering enterprise alleged to have been controlled and directed by

a high-profile Honolulu businessman[,]” that the case involved numerous

defendants and allegations and admissions of violent crime, and his “vague claims

of on-line ‘harassment’ since he publicly announced his guilty plea.” Id. The

instant matter presents even fewer circumstances supporting a substantial

probability of harm.

      Notably, the first description of Markovitz’ cooperation involves a thirty-

year old investigation and prosecution and Markovitz testified at trial in the matter.

Thus, his involvement and cooperation already have been disclosed. Nevertheless,

that disclosure was to a limited number of people—likely only those individuals

physically present in the courtroom. It is quite different to expose the full details

of the investigation and prosecution on a public electronic database, which is

known to be searched by criminals seeking to identify cooperators and intending to

do them harm. The Court finds that there is a sufficient risk of harm to Markovitz

if these details are revealed to outweigh the public’s right to know them. They will

be redacted.




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      With two exceptions, which will be redacted, Markovitz’ cooperation

primarily involved individuals or organizations investigated and/or prosecuted for

fraud, including tax fraud, not violent crimes. And nothing about those cases

suggest that they involved dangerous individuals who now pose a threat to

Markovitz. Like the situation discussed above, however, there are limited details

about these cases that the Court concludes should not be disclosed as doing so may

still put Markovitz at risk of harm. These details include the names of the

individuals who were the subjects of Markovitz’ cooperation, details enabling the

public to identify those individuals, how Markovitz acquired certain information

relevant to the government’s investigation and prosecution, and the name of the

probation officer who prepared the presentencing report in this matter.

                                     Conclusion

      In summary, the First Amendment and common law provide a rebuttable

presumption that hearings and filings in criminal proceedings, including sentencing

memoranda, will be publicly accessible. A member of the public, therefore, does

not have to prove his or her entitlement to or need for the materials. Instead, where

there is a First Amendment right of access, the party seeking to limit access must

demonstrate that closure is necessary to protect a compelling interest, there is a

substantial probability that without closure that interest will be harmed, and that




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any closure is narrowly tailored. Markovitz does not satisfy his burden with

respect to the complete redaction of his sentencing memorandum.

         For the reasons articulated above, the Court is redacting portions of the

memorandum. The memorandum otherwise will be filed on the public docket.

         The Court, therefore, GRANTS IN PART AND DENIES IN PART

Markovitz’ motion to seal. The sentencing memorandum will be filed with

necessary redactions. The motion to seal (ECF No. 26) shall be unsealed. 2 The

Government has not renewed its motion to seal its sentencing memorandum.

Therefore, that memorandum (ECF No. 19), as well as the Government’s earlier

motion to seal and the Court’s order (ECF No. 18), will be unsealed.

         Blackwell’s motions for expedited consideration (ECF Nos. 5, 7) are denied.

         SO ORDERED.

                                                 s/ Linda V. Parker
                                                 LINDA V. PARKER
                                                 U.S. DISTRICT JUDGE
    Dated: July 30, 2024




2
  Defendant initially filed his motion to seal under ECF No. 25, but the filing
includes his unredacted sentencing memorandum (i.e., it is not filed as a separate
exhibit) and, therefore, cannot be unsealed without disclosing the unredacted
memorandum.
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